Case 2:02-cV-02787-.]P|\/|-de Document 61 Filed 04/25/05 Page 1 of 2 Page|_D 96

HLH

 

IN THE UNITED STATES DISTRICT COURT `F
FoR THE WESTERN DISTRICT oF TENNEssEE USA?RLS hnlv L.
WESTERN DIVISION
ROBEHT§?WI' ETJG
CLE;"\:\, U.\:¢. L.u _ __ -J -
' ' - XMD‘OFTN,MRMMMS
ELLA ELLIS, in her individual
and representative capacity as
Administratrix of the Estate

of RICKY WATKINS, deceased

)
)
)
)
)
Plaintiff, )
)
v. ) No. 02-2787 Ml/v
)
sHELBY coUNTY, TENNESSEE, 1
)
)

Defendant.

 

ORDER ADMINISTRATIVELY CLOSING CASE

 

The Court held a telephone conference in this case on April
22, 2005. Plaintiff was represented by Katy Olita, Eeq.
Defendant was represented by Debra Fessenden, Esq.

Pursuant to the agreement of the parties and in accordance
with the Court'e Order Granting Joint Motion to Extend Summary
Judgment Deadlines; To Remend State Claime; and to
Administratively Dieeolve the Case, filed January 22, 2004, the
Clerk cf the Court is ORDERED to ADMINISTRATIVELY CLOSE this case

until further notice from the Court.

50 oRDERED this §§Lday @f April, 2005.

Q M-POM

P. MCCALLA

   
 
 

Thls documentl entered on the docket sham . .
with Rule 58 and!nr 79{¢:\ 'fn"..@ nn _d

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:02-CV-02787 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

